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 6   Attorneys for Defendant JORGE SANDOVAL
 7

 8                                UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,           )
12                                       )                Case No. 2:11-cr-00119-04 WBS
                       Plaintiff,        )
13
                                         )                STIPULATION AND [PROPOSED]
14         vs.                           )                ORDER TO EXCLUDE TIME
                                         )
15   JORGE SANDOVAL,                     )
                                         )
16
                       Defendants.       )
17   ____________________________________/

18          The parties hereby stipulate that the status conference in this case be continued from
19
     Monday, December 30, 2013, at 9:30 a.m. to Monday, February 3, 2014, at 9:30 a.m. The
20
     parties stipulate that the time between December 30, 2013, and February 3, 2014, should be
21

22   excluded from the calculation of time under the Speedy Trial Act. The parties stipulate that the

23   ends of justice are served by the Court excluding such time, so that counsel for the defendant
24
     may have reasonable time necessary for effective preparation, taking into account the exercise of
25
     due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4. Moreover, the parties
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     continue to engage in discussions about a possible resolution that could benefit the defendant by
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28   significantly reducing his possible sentencing exposure in this case. For these reasons, the

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 1   defendant agrees that a continuance. Therefore the parties have stipulated to continue the status
 2
     conference in this case. The parties stipulate and agree that the interests of justice served by
 3
     granting this continuance outweigh the best interests of the public and the defendant in a speedy
 4

 5
     trial. 18 U.S.C. § 3161 (h)(7)(A).

 6          The parties further request that this matter be taken off the December 30, 2013 calendar
 7   before Judge William B. Shubb and be rescheduled for February 2, 2014, at 9:30 a.m. before
 8
     Judge Shubb.
 9
                                                           Respectfully submitted
10

11                                                         LAW OFFICES OF TIM A. PORI

12   Date: December 27, 2013                               /s/ Tim A. Pori_______________
                                                           TIM A. PORI
13
                                                           Attorney for Defendant SANDOVAL
14

15
     Date: December 27, 2013                               /s/ Jason Hitt (Authorized 12/26/2013)
16
                                                           JASON HITT
17                                                         Assistant United States Attorney

18

19
                                                      ORDER
20
             IT IS HEREBY ORDERED that the Status Conference in the above-entitled matter is
21

22   continued to February 3, 2014, at 9:30 a.m. before the Honorable William B. Shubb and that the

23   time between December 30, 2013, and February 3, 2013, be excluded from the calculation of
24
     time under the Speedy Trial Act.
25
     Dated: December 30, 2013
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